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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
───────────────────────────────────
UNITED REALTY ADVISORS, LP, ET AL.,
                    Plaintiffs,                   14-cv-5903 (JGK)

           - against -                            MEMORANDUM OPINION
                                                  AND ORDER
ELI VERSCHLEISER, ET AL.,
                    Defendants.
───────────────────────────────────

JOHN G. KOELTL, District Judge:

     The plaintiffs Jacob Frydman (“Frydman”), United Realty

Advisors, LP (“United Realty”), and Prime United Holdings, LLC

(“Prime United”), (collectively, “the plaintiffs”), brought

these consolidated cases against multiple defendants, including,

as relevant here, Ophir Pinhasi (“Pinhasi”), contending that the

defendants violated various federal and state laws. In 2018,

several defendants, including Pinhasi, allegedly made a Federal

Rule of Procedure 68 offer of judgment wherein they offered to

settle the case and accept a judgment in favor of the plaintiffs

for $2,500,000. Pursuant to the offer, Defendant Pinhasi would

have been jointly and severally liable for an amount up to

$1,000,000.

     The plaintiffs rejected the offer and proceeded to trial

against Defendants Pinhasi and Eli Verschleiser (“Verschleiser”)

in late 2022. The jury awarded $2,133,005 in damages on a subset

of the plaintiffs’ claims against Verschleiser and this Court

entered judgment for $3,234,906.04. The jury found in Pinhasi’s
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favor on all the claims against him. Pinhasi now moves for costs

and attorney’s fees pursuant to Rule 68, contending that his

offer of $1,000,000 was greater than the judgment that the

plaintiff-offerees ultimately obtained against Pinhasi ($0), and

that he is therefore entitled to costs and attorney’s fees

incurred after the offer was made. Additionally, he contends he

should be awarded costs and attorney’s fees pursuant to Rule

54(d) and 28 U.S.C. § 1927.

                                   I.

     The Court assumes familiarity with the history of this

case, which has been described in the Court’s previous opinions.

See, e.g., ECF Nos. 126, 366, 371, 590, 630, 632. The following

summary sets forth only those facts necessary to contextualize

the ruling on Defendant Pinhasi’s motion for costs and

attorney’s fees.

     The plaintiffs commenced these cases in 2014 and

consolidated them in May 2015. ECF No. 63. On July 13, 2015, the

plaintiffs filed their Consolidated Second Amended Complaint

(“Complaint”). ECF No. 71. The Complaint alleged twenty counts

of violations of federal and New York State laws by ten named

defendants. Id. The claims related to the plaintiffs’

allegations that Verschleiser, with the assistance of others,

engaged in a coordinated campaign to harm the plaintiffs after



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Frydman ousted Verschleiser’s from their shared real estate

business. See, e.g., Compl. ¶¶ 18-19.

     On May 1, 2018, Defendants Verschleiser, Multi Capital

Group of Companies, LLC (“Multi Group”), Raul Delforno, Pinhasi,

and Alex Onica allegedly made a joint and several offer of

judgment pursuant to Federal Rule of Civil Procedure 68 to

settle the case for $2,500,000, inclusive of all costs,

prejudgment interest, and reasonable attorney’s fees accrued.

Pinhasi Decl., Ex. A. (“Offer of Judgment”), ECF No. 636-1. The

Offer of Judgment specified that Defendant Verschleiser would be

“jointly and severally liable for the total sum of $2,500,000”

while the remaining defendants—including Pinhasi—would be

“jointly and severally liable for a sum up to §1,000,000.” Id. 1

The plaintiffs did not accept the offer and the case proceeded

to trial.

     Over the course of eight years of litigation, many

defendants were dismissed, and the plaintiffs sought and secured

a default judgment against the defendant Multi Group. See ECF

No. 475. In late 2022, the plaintiffs tried their remaining

claims against the two remaining defendants, Verschleiser and

Pinhasi, before a jury. See ECF Nos. 592-612. The jury found in




1 Unless otherwise noted, this Memorandum Opinion and Order omits
all alterations, omissions, emphasis, quotation marks, and
citations in quoted text.
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Pinhasi’s favor on all the claims against him, including claims

brought pursuant to the Racketeering Influenced and Corrupt

Organizations Act (“RICO”), 18 U.S.C. § 1961 et seq.; the

Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. § 1030, et

seq.; the Electronic Communications Privacy Act (“ECPA”), 18

U.S.C. § 2510 et seq., the Stored Communications Act (“SCA”), 18

U.S.C. § 2701 et seq., misappropriation of trade secrets, and

conversion. See Trial Tr. at 1127-33, ECF No. 612.

     The jury found in Verschleiser’s favor on the state law

claims for libel per se, trade libel, and intentional infliction

of emotional distress. Id. However, the jury found unanimously

that Verschleiser had violated RICO, the CFAA, the ECPA, and the

SCA. The jury also found Verschleiser liable for

misappropriation of trade secrets, breach of contract, tortious

interference with existing contractual relations, tortious

interference with prospective business relations, and

conversion. Id. The jury awarded a total of $2,133,005 in

damages for the claims for which Verschleiser was found liable.

Id. 1133-34. This Court entered a judgment in the amount of

$3,234,906.04 against Verschleiser. ECF No. 591. 2 The Court




2 This number includes $1,101,899.04 in prejudgment interest. ECF
No. 591. The judgment also provided that Multi Group was liable
jointly and severally with Verschleiser in the amount of $3 for
RICO damages, as well as for any attorney’s fees and costs. ECF
No. 591.
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subsequently entered an Order awarding the plaintiffs

$306,970.52 in costs and attorney’s fees against Verschleiser

and Multi Group. ECF No. 632.

     Pinhasi now moves for costs and attorney’s fees pursuant to

Rule 68, Rule 54(d), and 28 U.S.C. § 1927. Pinhasi argues

primarily that Pinhasi served the plaintiffs with a Rule 68

Offer of Judgment in the amount of $1,000,000, and that the

plaintiffs ultimately recovered $0 against Pinhasi, thereby

entitling him to attorney’s fees pursuant to Rule 68.

     Only Plaintiff Frydman responded to the motion. Frydman

argues that Rule 68 does not apply because the $3,234,906.04

judgment against Verschleiser exceeded the $2,500,000 offer of

judgment made by the defendants—including Verschleiser—jointly

and severally. Frydman did not respond to Pinhasi’s arguments

that Pinhasi is entitled to attorney’s fees under Rule 54(d) and

28 U.S.C. § 1927.

     For the following reasons, Pinhasi’s motion for an award of

costs and attorney’s fees pursuant to Rule 68, Rule 54(d), and

28 U.S.C. § 1927 is denied.

                                   II.

     Rule 68 provides that an offeree who rejects an offer of

judgment must pay the costs incurred after the offer was made if

the judgment finally obtained by the offeree is “not more

favorable” than the offer. See Fed. R. Civ. P. 68(d).

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Essentially, “Rule 68 is a cost-shifting rule designed to

encourage settlements without the burdens of additional

litigation.” Reiter v. MTA N.Y.C. Transit Auth., 457 F.3d 224,

229 (2d Cir. 2006). To determine whether the defendant is

entitled to costs, courts must compare the Rule 68 offer to the

ultimate judgment. If the offer exceeds the judgment, then the

defendant is entitled to costs, and the court must next

determine whether those costs include attorney’s fees. As used

in Rule 68(d), “costs” include attorney’s fees where the

underlying statute provides for an award of attorney’s fees as

part of costs. See Marek v. Chesny, 473 U.S. 1, 9 (1985).

     In Delta Air Lines, Inc. v. August, 450 U.S. 346, 348

(1981), the Supreme Court considered “whether the words

‘judgment finally obtained by the offeree’ as used in [Rule 68]

should be construed to encompass a judgment against the offeree

as well as a judgment in favor of the offeree.” The Supreme

Court concluded that Rule 68 does not apply where the defendant

prevails. See id. at 352 (concluding the Rule is “simply

inapplicable to this case because it was the defendant that

obtained the judgment”); see also In re Water Valley Finishing,

Inc., 139 F.3d 325, 328 (2d Cir. 1998) (“Rule 68 applies only

when offers are made by the defendant and a judgment is obtained

by the plaintiff.”); Louisiana Power & Light Co. v. Kellstrom,

50 F.3d 319, 334 (5th Cir. 1995) (per curiam) (“[T]he rule is

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not applicable when a defendant actually prevails over the

plaintiff.”); Poteete v. Cap. Eng’g, Inc., 185 F.3d 804, 806

(7th Cir. 1999) (“Rule 68 is applicable only to cases the

defendant loses.”); Bennouchene v. Videoapp, Inc., No. 19-cv-

6318, 2020 WL 495374, at *2 (S.D.N.Y. Jan. 30, 2020) (“[T]he

U.S. Supreme Court confirmed that Rule 68 only applies to

situations where the plaintiff obtained a judgment for less than

the Rule 68 offer, not when the plaintiff lost.”).

     Unlike this case, where the plaintiffs prevailed in part

against one of the two defendants, Delta involved a single

defendant who prevailed completely against the plaintiff.

However, in Louisiana Power, the Fifth Circuit Court of Appeals

considered a case similar to this one, where the plaintiff

recovered $500,000 against certain defendants but nothing

against the defendant seeking attorney’s fees pursuant to Rule

68. The court determined that Delta controlled, reasoning that

the “defendant [at issue] actually prevailed totally against

[the] plaintiff,” irrespective of the judgment that the

plaintiff obtained against other defendants. See Louisiana

Power, 50 F.3d at 334. Accordingly, because Pinhasi prevailed at

trial, the Supreme Court’s decision in Delta precludes recovery

of costs and fees pursuant to Rule 68.




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                                  III.

     In a single sentence, located in a footnote, Pinhasi

contends that he “is also entitled to his costs under FRCP

54(d), which provides that costs should be awarded to the

prevailing party.” Mem. of L. in Supp. of Mot. for Costs &

Attorney’s Fees (“Mem. in Supp.”) at 3 n.1, ECF No. 633. He

asserts in the supporting Memorandum and in his Declaration that

his costs amount to $18,738.84 but does not provide a breakdown

of the costs or any supporting documentation. See Mem. in Supp.

at 3; Pinhasi Decl. ¶ 9. 3

     Pursuant to Rule 54(d), “[u]nless a federal statute, these

rules, or a court order provides otherwise, costs—other than

attorney’s fees—should be allowed to the prevailing party.” Fed.

R. Civ. P. 54(d)(1); see also Marx v. Gen. Revenue Corp., 568

U.S. 371, 376-78 (2013). Rule 54(d) “grants costs to a


3 The costs listed by Pinhasi do not include attorney’s fees and
therefore it is unclear whether Pinhasi requests costs and
attorney’s fees pursuant to Rule 54(d), or just costs. In any
event, Rule 54(d)(2) provides that a prevailing party seeking
attorney’s fees must file and serve a motion for attorney’s fees
“no later than 14 days after the entry of judgment” and that the
motion must “specify the judgment and the statute, rule, or
other grounds entitling the movant to the award.” See Fed. R.
Civ. P. 54(d)(2)(B); see also Sorenson v. Wolfson, 170 F. Supp.
3d 622, 627 (S.D.N.Y. Mar. 21, 2016) (“Rule 54(d)(2)(B) provides
the procedure to file a claim for attorneys’ fees where they are
authorized under another statute . . . .”). Pinhasi has not
satisfied these requirements or identified a specific statute
entitling him to an award of attorney’s fees and, accordingly,
cannot recover attorney’s fees under Rule 54(d)(2).


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prevailing party as a matter of course in the absence of a

countervailing statute or rule, unless the trial judge directs

otherwise.” Cosgrove v. Sears, Roebuck & Co., 191 F.3d 98, 101

(2d Cir. 1999).

     However, “the district courts [are] free to adopt local

rules establishing standards for timely filing of requests for

costs.” White v. New Hampshire Dept. of Emp. Sec., 455 U.S. 445,

454 n.17 (1982). The Local Rules for this Court specify that the

party seeking to recover costs pursuant to Rule 54 “must file

with the clerk a notice of taxation of costs by ECF” “[w]ithin

30 days after the entry of final judgment, or, in the case of an

appeal by any party, within 30 days after the final disposition

of the appeal.” Local Rule 54.1(a). The party must annex a Bill

of Costs which should include an affidavit that the costs

claimed are allowable by law, correctly stated, and necessarily

incurred. Id. Further, “[b]ills for the costs claimed must be

attached as exhibits.” Id.

     In this case, Pinhasi has not filed a notice of taxation of

costs with the Clerk or provided a Bill of Costs. Instead,

Pinhasi raises his Rule 54(d) claim for costs in a single

footnote in a memorandum of law otherwise dedicated to his




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claims for costs and attorney’s fees pursuant to Rule 68 and 28

U.S.C. 1927. This is plainly inadequate.

     Pinhasi should comply with this District’s procedure for

taxing costs and present a Bill of Costs to the Clerk. See

Overseas Direct Imp. Co., Ltd. v. Fam. Dollar Stores Inc., No.

10-cv-4919, 2013 WL 5988937, at *3 (S.D.N.Y. Nov. 12, 2013)

(observing that “neither party has referred to the proper

procedure in this District for taxing costs” and directing the

defendant to present its Bill of Costs to the Clerk); see also

Behrmann v. Farrell, No. 6-cv-51, 2006 WL 2771870, at *8 n.7

(S.D.N.Y. Sept. 26, 2006) (noting that the defendants requested

costs for the first time in a Reply Memorandum and directing the

parties that “if a request for costs is pursued, the parties

should follow the procedures under Rule 54(d)(1)”).

     Ordinarily, Pinhasi’s motion for Rule 54(d) costs would be

untimely because he did not file a notice of taxation of costs

with an attached Bill of Costs within thirty days of the final

judgment. See Local Rule 54.1(a). However, in this case, thirty

days have not yet elapsed after the final disposition of

Verschleiser’s appeal. See United Realty Advisors, LP v.

Verschleiser, Nos. 22-3235-cv, 23-11-cv & 23-938-cv, 2024 WL

4380274 (2d Cir. Oct. 3, 2024) (summary order); see also Local




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Rule 54.1(a) (parties should file Bill of Costs “within 30 days

after the final disposition of the appeal [by any party]”).

                                   IV.

     Finally, Pinhasi claims he is entitled to attorney’s fees

pursuant to 28 U.S.C. § 1927 which provides that an attorney

“who so multiplies the proceedings in any case unreasonably and

vexatiously may be required by the court to satisfy personally

the excess costs, expenses, and attorneys’ fees reasonably

incurred because of such conduct.” The standard for a motion for

sanctions pursuant to § 1927 is high. “To impose sanctions under

either [§ 1927 or the court’s inherent authority], the trial

court must find clear evidence that (1) the offending party’s

claims were entirely meritless and (2) the party acted for

improper purposes.” Agee v. Paramount Commc’ns, Inc., 114 F.3d

395, 398 (2d Cir. 1997). 4

     In other words, the Court must find that the offending

party acted in bad faith before awarding sanctions. Id.; see

also United States v. Int’l Brotherhood of Teamsters,




4 Alongside § 1927, courts and parties frequently invoke the
district court’s “‘inherent power’ to award attorneys’ fees
against the offending party and [that party’s] attorney when it
determines a party has ‘acted in bad faith, vexatiously,
wantonly, or for oppressive reasons.’” Agee, 114 F.3d at 398
(quoting Sierra Club v. U.S. Army Corps of Eng’rs, 776 F.2d 383,
390 (2d Cir. 1985)). As the Second Circuit Court of Appeals
noted in Agee, the standard is the same under either authority,
although in this case Pinhasi only cites to § 1927.
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Chauffeurs, Warehousemen & Helpers of Am., 948 F.2d 1338, 1345

(2d Cir. 1991) (“Bad faith is the touchstone of an award under

this statute.”). Accordingly, the Second Circuit Court of

Appeals has held that “an award under § 1927 is proper when the

attorney’s actions are so completely without merit as to require

the conclusion that they must have been undertaken for some

improper purpose such as delay.” Oliveri v. Thompson, 803 F.2d

1265, 1273 (2d Cir. 1986). And, as the Court previously held in

this case, “§ 1927 is not a catch-all provision designed to

penalize attorneys for making bad arguments.” United Realty

Advisors, LP v. Verschleiser, No. 14-cv-5903, 2015 WL 3498652,

at *2 (S.D.N.Y. June 3, 2015).

     In this case, the parties’ “scorched earth practices”

appear to have been mutual. See United Realty Advisors, LP v.

Verschleiser, No. 14-cv-5903, 2023 WL 4141545, at * 1 (S.D.N.Y.

Jun. 23, 2023). This Court previously concluded that “[t]he

plaintiffs have . . . engaged in unproductive and ill-advised

litigation conduct that inevitably inflated the amount of

attorney time devoted to these cases.” Id. at *7. However, the

Court also acknowledged that “the defendant certainly bears some

responsibility for needlessly increasing the hours expended on

these actions.” Id.; see also, e.g., Feb. 17, 2015 Tr. at 11,

No. 14-cv-8084, ECF No. 43 (“[B]oth sides have abused the

litigation process.”). Because the multiplication of proceedings

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appears to have been a joint effort, § 1927 does not justify

sanctioning the plaintiffs alone.

     Moreover, Pinhasi does not provide concrete support to

sustain his heavy burden to show that the plaintiffs’ claims

were entirely meritless, undertaken with an improper purpose,

and improperly multiplied the proceedings. He does not point to

specific arguments or motions that lacked merit, asserting only

that “[t]here can be no doubt that Frydman’s motivation in

filing this lawsuit was to harass Pinhasi and cause him to incur

significant legal bills.” Mem. in Supp. at 4. While Pinhasi

prevailed at trial on all the claims against him, the jury

returned a verdict in favor of the plaintiffs on certain of the

claims against Verschleiser, indicating that the suit itself was

not entirely without merit or undertaken purely to harass the

defendants. Accordingly, there is no basis for an award of

attorney’s fees to Pinhasi under § 1927.

                              Conclusion

     The Court has considered all of the arguments raised by the

parties. To the extent not specifically addressed, the arguments

are either moot or without merit. For the foregoing reasons, the

defendant’s motion for attorney’s fees pursuant to Rules 54 and




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